AO 245B      (Rev. 11/11) Judgment in a Criminal Case
             Sheet 1



                                       United States District Court
                                                 NORTHERN DISTRICT OF IOWA
          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                               V.
                 BRENDA LEONARD                                           Case Number:                         CR 14-37-2-LRR

                                                                          USM Number:                          71428-097
                                                                          Jonathan B. Hammond
                                                                          Defendant’s Attorney
THE DEFENDANT:
O pleaded guilty to count(s) 1 of the Indictment filed on March 19, 2014
G pleaded nolo contendere to count(s)
     which was accepted by the court.
G    was found guilty on count(s)
     after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                         Nature of Offense                                                        Offense              Count
21 U.S.C. § 841(b)(1)(D)                Distribution and Aiding and Abetting the                                02/06/2013              1
and 18 U.S.C. § 2                       Distribution of Marijuana


         The defendant is sentenced as provided in pages 2 through            5         of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.
G    The defendant has been found not guilty on count(s)
O    Count       2 of the Indictment                                                       is dismissed on the motion of the United States.

          IT IS ORDERED that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material change in economic circumstances.

                                                                          September 25, 2014
                                                                          Date of Imposition of Judgment




                                                                          Signature of Judicial Officer



                                                                          Linda R. Reade
                                                                          Chief U.S. District Court Judge
                                                                          Name and Title of Judicial Officer


                                                                            September 25, 2014
                                                                          Date




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             Sheet 4—Probation
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                                                                 PROBATION
The defendant is hereby sentenced to probation for a term of: 2 years on Count 1 of the Indictment.




           The defendant shall not commit another federal, state or local crime.
          The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug
tests thereafter, as determined by the court.
G The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
O The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
O The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
G The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)
G The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
       If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant’s compliance with such notification requirement.




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            Sheet 4C — Probation
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                                          SPECIAL CONDITIONS OF SUPERVISION
The defendant must comply with the following special conditions as ordered by the Court and implemented by the U.S. Probation Office:

1)        The defendant must participate in and successfully complete a program of testing and treatment for substance
          abuse.
2)        The defendant must participate in a mental health evaluation and/or treatment program. The defendant must take
          all medications prescribed to the defendant by a licensed psychiatrist or physician.
3)        If not employed at a regular lawful occupation, as deemed appropriate by the United States Probation Office, the
          defendant must participate in employment workshops and report, as directed, to the United States Probation
          Office to provide verification of daily job search results or other employment related activities. In the event the
          defendant fails to secure employment, participate in the employment workshops, or provide verification of daily
          job search results, the defendant may be required to perform up to 20 hours of community service per week until
          employed.
4)        The defendant must submit to a search of the defendant’s person, residence, adjacent structures, office and
          vehicle, conducted by a United States Probation Officer at a reasonable time and in a reasonable manner, based
          upon reasonable suspicion of contraband or evidence of a violation of a condition of release. Failure to submit to
          a search may be grounds for revocation. The defendant must warn any other residents that the residence or
          vehicle may be subject to searches pursuant to this condition. This condition may be invoked with or without the
          assistance of law enforcement, including the United States Marshals Service.




Upon a finding of a violation of supervision, I understand the Court may: (1) revoke supervision; (2) extend the term of
supervision; and/or (3) modify the condition of supervision.
These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


          _____________________________________                     _____________________
          Defendant                                                        Date


          _____________________________________                     _____________________
          U.S. Probation Officer/Designated Witness                        Date




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           Sheet 5 — Criminal Monetary Penalties
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                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                    Assessment                                                Fine                                  Restitution
TOTALS            $ 100 (paid)                                          $     0                                   $ 0


G    The determination of restitution is deferred until                 . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

G    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.


Name of Payee                                 Total Loss*                               Restitution Ordered                     Priority or Percentage




TOTALS                                $                                           $


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     G the interest requirement is waived for the                G fine       G       restitution.

     G the interest requirement for the               G   fine      G       restitution is modified as follows:



* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses
committed on or after September 13, 1994, but before April 23, 1996.

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           Sheet 6 — Criminal Monetary Penalties

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                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A    O    Lump sum payment of $                       100   due immediately, balance due

          G not later than                               , or
          O in accordance with           G C, G D, G E, or O F below; or

B    G    Payment to begin immediately (may be combined with            G C,        G D, or      G F below); or

C    G    Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D    G    Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $               over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    O    Special instructions regarding the payment of criminal monetary penalties:

          The $100 special assessment was paid on July 7, 2014, receipt #IAN110013506.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




G    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




G    The defendant shall pay the cost of prosecution.

G    The defendant shall pay the following court cost(s):

G    The defendant shall forfeit the defendant’s interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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